Case 3:19-cv-02042-S-BT Document16 Filed 11/05/20 Page1ofi1 PagelD 162

United States District Court

NORTHERN DISTRICT OF TEXAS

DALLAS DIVISION
WAYLAN NELSON BAILEY, JR, §
Vv. 3:19-cv-2042-S8 (BT)
FRANCISCO FUENTEZ, ET AL.

ORDER
The United States Magistrate Judge made findings, conclusions and a recommendation in
this case. No objections were filed. The District Court reviewed the proposed findings,
conclusions and recommendation for plain error, Finding none, the Court ACCEPTS the Findings,
Conclusions and Recommendation of the United States Magistrate Judge.
SO ORDERED.

SIGNED November 5, 2020.

   

ct

UNITED STATES DISTRICT JUDGE

 

 
